Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 1 of 14
Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 2 of 14
          Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 3 of 14




                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________
                                      :
                                      :
DESJANAVA KINSLOW,                    :
1707 Kinsey St.                       :
Philadelphia, PA 19124                :         Civil Action
              Plaintiff               :         No. 22-
                                      :
      V.                              :
                                      :
CITY OF PHILADELPHIA,                 :
1515 Arch St.                         :
Philadelphia, PA 19102                :
                                      :
      And                             :
                                      :
ADA JOHN DOE                          :         Jury Trial Demanded
1515 Arch St.                         :
Philadelphia, PA 19102                :
                                      :
      And                             :
                                      :
OFFICER JOHN DOE 1-2                  :
1515 Arch St.                         :
Philadelphia, PA 19102                :
              Defendants.             :
                                      :
                                      :
______________________________________________________________________________

                                 CIVIL ACTION COMPLAINT

       NOW COMES DESJANAVA KINSLOW, by and through counsel Evan T.L Hughes,

Esquire brings this suit to recover for federal constitutional violations and state law claims. In

support thereof, Plaintiff avers as follows:




                                                                                                     1
      Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 4 of 14




                            NATURE OF THE COMPLAINT

1. Desjanava Kinslow, (hereinafter, “Ms. Kinslow” or “Plaintiff”) was arrested on February

   3, 2020 for firearms offenses by OFFICERS JOHN DOE 1-2.

2. Ms. Kinslow proceeded to a bench trial that was bifurcated and prosecuted by ADA

   JOHN DOE on November 30, 2021 and December 7, 2021.

3. On or around December 7, 2021, Ms. Kinslow was found Not Guilty due to the fact that

   her firearm permit was still legally in effect at the time of her arrest.

4. This miscarriage of justice was directly caused by the malicious prosecution by officials,

   who with deliberate indifference, pursued prosecution at the expense of justice.

5. As a result of her arrest and these baseless criminal proceedings against her, Ms. Kinslow

   has experienced significant difficulty in obtaining employment.



                                 JURISDICTION AND VENUE

6. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343, as this civil action is

   brought pursuant to 42 U.S.C. § 1983 to remedy the deprivation of Plaintiff’s rights,

   secured by the United States Constitution.

7. This Court has pendent jurisdiction pursuant to 28 U.S.C. §1367 to hear and address

   related state-law claims.

8. Venue is proper in the Eastern District of Pennsylvania under 28 U.S.C. § 1391(b), as the

   claims at issue in this action arose in this District.



                                         JURY DEMAND




                                                                                                2
      Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 5 of 14




9. Plaintiff demands a jury on all issues and claims set forth in this Civil Complaint

   pursuant to the Seventh Amendment of the United States Constitution and Federal Rule

   of Civil Procedure 38(b).

                                            PARTIES

10. Plaintiff Desjanava Kinslow (“Ms. Kinslow”) is, and at all times relevant to this action

   was, a resident of the state of Pennsylvania. On February 3, 2020, Ms. Kinslow was

   arrested for charges of Firearms Not to Be Carried. Ms. Kinslow was ultimately found

   Not Guilty of Firearms Not to Be Carried because her firearm license was not legally

   suspended on February 3, 2020.

11. Defendant CITY OF PHILADELPHIA is, and at all times relevant to this Complaint, was

   a municipality located in the Commonwealth of Pennsylvania. The CITY OF

   PHILADELPHIA is, and at all times relevant to this Complaint, was officially

   responsible for the policies, customs, training, and practices of the Philadelphia District

   Attorney’s Office and Philadelphia Police. The CITY OF PHILADELPHIA was at all

   times relevant to this action the employer of Defendants OFFICERS JOHN DOE 1-2 and

   ADA JOHN DOE.

12. Defendant ADA JOHN DOE, at all times relevant to this action, was an Assistant District

   Attorney in the Philadelphia County District Attorney’s Office acting under color of law

   and within the scope of his employment.

13. Defendant OFFICERS JOHN DOE 1-2, at all times relevant to this action, were officers

   of the Philadelphia Police Department acting under color of law and within the scope of

   their employment pursuant to the statutes, regulations, policies, customs, and practices of

   the City of Philadelphia and Philadelphia Police Department.




                                                                                                 3
      Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 6 of 14




                                       OPERATIVE FACTS

14. On February 3, 2020, Ms. Kinslow was pulled over by Defendants OFFICERS JOHN

   DOE 1-2 for an alleged motor vehicle code violation.

15. Upon the officers’ request, Ms. Kinslow informed them that she did have a firearm on her

   person for which she had licensure.

16. Defendant OFFICERS JOHN DOE 1-2 alleged that her concealed carry status was

   revoked effective September 4, 2019 and as a result, Ms. Kinslow was arrested and

   charged with firearms violations.

17. On December 7, 2021 at trial, Defendant ADA JOHN DOE pursued a third degree felony

   charge of Firearms Not to be Carried without License against Ms. Kinslow.

18. On that same day, Ms. Kinslow was found Not Guilty by the Honorable Judge George

   Anthony Kyriakakis due to her license not being legally suspended on February 3, 2020.

19. Despite the lack of evidence and viable case against Ms. Kinslow, Defendants pursued

   prosecution in order to deny Ms. Kinslow her civil rights, falsely arrest her, and deny her

   due process of the law.

20. During the time of her trial as well as after her acquittal, Ms. Kinslow continues to

   struggle to find employment due to these charges.

21. Defendants OFFICERS JOHN DOE 1-2, and ADA JOHN DOE were at all times acting

   in their official capacity and under color of authority.

22. Defendant CITY OF PHILADELPHIA knew or should have known of the constitutional

   violations being committed by its employees, through the administration of general

   policies, practices, and training within the Philadelphia Police. Defendant CITY OF




                                                                                                 4
      Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 7 of 14




   PHILADELPHIA is therefore directly liable and responsible for the acts of Defendants

   OFFICERS JOHN DOE 1-2, and ADA JOHN DOE.

23. Defendants CITY OF PHILADELPHIA is liable for the acts of Defendants OFFICERS

   JOHN DOE 1-2 and ADA JOHN DOE because, as a matter of policy and practice, it has

   tolerated and permitted the pattern of deprivation of constitutional rights by its police and

   prosecution at the expense of the constitutional rights of Plaintiff and those similarly

   situated.

24. Defendant CITY OF PHILADELPHIA has, as a matter of policy, practice, and custom,

   failed to reprimand, sanction, or discipline or appropriately hire and/or fire officers whose

   actions and/or omissions lead to such unlawful conduct that violates the constitutional

   rights on Plaintiff and those similarly situated.

25. As a direct result of the Defendants’ unconstitutional actions, Plaintiff suffered serious

   economic and other injuries in the form of attorneys’ fees incurred, emotional distress,

   wage loss, embarrassment, and time spent to defend the case for which Plaintiff seeks

   compensation.

26. At no time relevant to this action did Plaintiff engage in any criminal behavior justifying

   Defendants’ actions.

27. The actions and/or omissions of Defendants OFFICERS JOHN DOE 1-2 and ADA

   JOHN DOE through their employment by CITY OF PHILADELPHIA, were committed

   deliberately, intentionally, maliciously, and willfully.

28. The damages suffered by Plaintiff were the direct and proximate result of the conduct of

   the defendants jointly, severally, directly, or vicariously.


                 COUNT I: 42 U.S.C. § 1983 MALICIOUS PROSECUTION


                                                                                                  5
      Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 8 of 14




29. The preceding paragraphs are incorporated by reference as though they were laid out

   fully herein.

30. Defendants OFFICERS JOHN DOE 1-2 initiated criminal charges against Plaintiff by

   arresting her for firearms offenses on February 3, 2020.

31. The proceeding was initiated without the requisite probable cause.

32. Defendant ADA JOHN DOE pursued prosecution against Plaintiff despite Plaintiff’s case

   not being legally viable.

33. Defendants acted with malice in ensuring that Plaintiff be subject to criminal proceedings

   despite her legal innocence.

34. As a direct result of the Defendants’ unconstitutional actions, Plaintiff suffered serious

   economic and other injuries in the form of attorneys’ fees incurred, emotional distress,

   wage loss, embarrassment, and time spent to defend the case for which Plaintiff seeks

   compensation.

           WHEREFORE, Plaintiff demands judgment in his favor, and against all

   Defendants jointly and severally pursuant to 42 U.S.C. § 1983 including interest, delay

   damages, costs of suit, compensatory and punitive damages, and attorneys’ fees under

   U.S.C. §§ 1985 and 1988, and any other remedies legally appropriate.


                        COUNT II: 42 U.S.C. § 1983 FALSE ARREST

35. The preceding paragraphs are incorporated by reference as though they were laid out

   fully herein.

36. Defendant OFFICERS JOHN DOE 1-2 intended to arrest Plaintiff for VUFA offenses

   despite Plaintiff’s valid firearm licensure.




                                                                                                 6
      Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 9 of 14




37. Plaintiff KINSLOW was arrested pretrial and bailed out of pretrial confinement, so she

   was aware of her confinement.

38. There was no probable cause to arrest Plaintiff KINSLOW.

39. Plaintiff KINSLOW did not offer consent nor was the confinement privileged.

40. As a direct result of the Defendants’ unconstitutional actions, Plaintiff suffered serious

   economic and other injuries in the form of attorneys’ fees incurred, emotional distress,

   wage loss, embarrassment, and time spent to defend the case for which Plaintiff seeks

   compensation.

           WHEREFORE, Plaintiff demands judgment in her favor, and against all

   Defendants jointly and severally pursuant to 42 U.S.C. § 1983 including interest, delay

   damages, costs of suit, compensatory and punitive damages, and attorneys’ fees under

   U.S.C. §§ 1985 and 1988, and any other remedies legally appropriate.


                 COUNT III: 42 U.S.C. § 1983 CIVIL RIGHTS CONSPIRACY

41. The preceding paragraphs are incorporated by reference as though they were laid out

   fully herein.

42. Defendant OFFICERS JOHN DOE 1-2 conspired with each other and Defendant ADA

   JOHN DOE in attempts to secure a conviction against Ms. Kinslow, despite the fact that

   Ms. Kinslow had her permit to carry and it had not been legally suspended on the date of

   her arrest.

43. As a direct result of the Defendants’ unconstitutional actions, Plaintiff suffered serious

   economic and other injuries in the form of attorneys’ fees incurred, emotional distress,

   wage loss, embarrassment, and time spent to defend the case for which Plaintiff seeks

   compensation.


                                                                                                 7
     Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 10 of 14




           WHEREFORE, Plaintiff demands judgment in her favor, and against all

   Defendants jointly and severally pursuant to 42 U.S.C. § 1983 including interest, delay

   damages, costs of suit, compensatory and punitive damages, and attorneys’ fees under

   U.S.C. §§ 1985 and 1988, and any other remedies legally appropriate.



               COUNT IV: 42 U.S.C. § 1983 SUBSTANTIVE DUE PROCESS

44. The preceding paragraphs are incorporated by reference as though they were laid out

   fully herein.

45. As a direct and proximate result of Defendants’ actions, more specifically described

   above, Plaintiff’s substantive due process rights, as protected by the Fourteenth

   Amendment to the United States Constitution, were violated and as a result, Plaintiff

   suffered grievous injury, including but not limited to wage loss, loss of opportunity,

   mental anguish, emotional distress, embarrassment, and Plaintiff’s time, energy, and

   resources spent defending the criminal case.

46. Defendants subjected Plaintiff to this deprivation of rights unreasonably, intentionally,

   wantonly, outrageously, and with conscious and reckless disregard for whether Plaintiff’s

   rights would be violated by their actions.

47. Solely as a direct and proximate result of Defendants’ conduct, Plaintiff suffered

   substantial damages, outlined above, including the costs of this suit.

           WHEREFORE, Plaintiff demands judgment in her favor, and against all

   Defendants jointly and severally pursuant to 42 U.S.C. § 1983 including interest, delay

   damages, costs of suit, compensatory and punitive damages, and attorneys’ fees under

   U.S.C. §§ 1985 and 1988, and any other remedies legally appropriate.




                                                                                                8
     Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 11 of 14




                   COUNT V: STATE LAW MALICIOUS PROSECUTION

48. The preceding paragraphs are incorporated by reference as though they were laid out

   fully herein.

49. Defendants OFFICERS JOHN DOE 1-2 initiated criminal charges against Plaintiff by

   arresting her for firearms offenses on February 3, 2020.

50. The proceeding was initiated without the requisite probable cause.

51. Defendant ADA JOHN DOE pursued prosecution against Plaintiff despite Plaintiff’s case

   not being legally viable.

52. Defendants acted with malice in ensuring that Plaintiff be subject to criminal proceedings

   despite no violation of law taking place.

53. As a direct result of the Defendants’ unconstitutional actions, Plaintiff suffered serious

   economic and other injuries in the form of attorneys’ fees incurred, emotional distress,

   wage loss, embarrassment, and time spent to defend the case for which Plaintiff seeks

   compensation.

           WHEREFORE, Plaintiff demands judgment in her favor, and against all

   Defendants jointly and severally including interest, delay damages, costs of suit, general

   and specific damages, punitive and exemplary damages, and any other remedies legally

   appropriate.


         COUNT VI: STATE LAW NEGLIGENT INFLICTION OF EMOTIONAL
                                DISTRESS

1. The preceding paragraphs are incorporated by reference as though they were laid out

   fully herein.




                                                                                                 9
     Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 12 of 14




2. As a direct result of the Defendants’ unconstitutional negligent actions, Plaintiff suffered

   serious economic and other injuries in the form of attorneys’ fees incurred, emotional

   distress, wage loss, embarrassment, and time spent to defend the case for which Plaintiff

   seeks compensation.

           WHEREFORE, Plaintiff demands judgment in his favor, and against all

   Defendants jointly and severally including interest, delay damages, costs of suit, general

   and specific damages, punitive and exemplary damages, and any other remedies legally

   appropriate.


       COUNT VII: STATE LAW INTENTIONAL INFLICTION OF EMOTIONAL
                                DISTRESS

3. The preceding paragraphs are incorporated by reference as though they were laid out

   fully herein.

4. As a direct result of the Defendants’ unconstitutional intentional actions, Plaintiff

   suffered serious economic and other injuries in the form of attorneys’ fees incurred,

   emotional distress, wage loss, embarrassment, and time spent to defend the case for

   which Plaintiff seeks compensation.

           WHEREFORE, Plaintiff demands judgment in his favor, and against all

   Defendants jointly and severally including interest, delay damages, costs of suit, general

   and specific damages, punitive and exemplary damages, and any other remedies legally

   appropriate.


                   COUNT VIII: 42 U.S.C. § 1983 MUNICIPAL LIABILITY

54. The preceding paragraphs are incorporated by reference as though they were laid out

   fully herein.


                                                                                              10
     Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 13 of 14




55. Defendant CITY OF PHILADELPHIA, by and through its lawmakers operated the

   Philadelphia Police Department and Philadelphia District Attorney’s Office without

   support, training, appropriate staffing, and supervision regarding the risk of constitutional

   trial violations when officials operate under color of law and within the scope of their

   employment.

56. The need for policies, training, supervision, appropriate staffing, and resources is

   evidenced by the great deprivation of rights that occurs to an individual at the time of

   their arrest, incarceration, and commencement of criminal charges against them.

57. The risk of constitutional violations occurring where such policies, training, supervision,

   appropriate staffing, and resources do not exist is obvious and appropriate steps to

   remedy such lack of the above-listed were not taken.

58. The ongoing failure of Defendant CITY OF PHILADELPHIA, by and through its

   lawmakers, to implement policies to protect the constitutional rights of its citizens

   constitutes conscious disregard of Plaintiff’s rights and deliberate indifference.

59. Such ongoing failure is the legal cause of the malicious prosecution, false arrest, and

   deprivation of civil rights that Ms. Kinslow experienced prior to obtaining a Not Guilty

   verdict and continues to experience in terms of lost employment opportunity.

60. As a direct result of the Defendants’ unconstitutional actions, Plaintiff suffered serious

   economic and other injuries in the form of attorneys’ fees incurred, emotional distress,

   wage loss, embarrassment, and time spent to defend the case for which Plaintiff seeks

   compensation.

           WHEREFORE, Plaintiff demands judgment in her favor, and against all

   Defendants jointly and severally pursuant to 42 U.S.C. § 1983 including interest, delay




                                                                                                 11
Case 2:22-cv-00468-TJS Document 1 Filed 02/04/22 Page 14 of 14
